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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION


MICHAEL J DANIELS, ET AL.,                      §
                                                §
                  Plaintiffs,                   §             5-19-CV-01280-FB-RBF
                                                §
vs.                                             §
                                                §
AETC II PRIVATIZED HOUSING, LLC,                §
AETC II PROPERTY MANAGERS, LLC,                 §
HUNT ELP, LTD,                                  §
                                                §
                  Defendants.                   §

                                ORDER SETTING HEARING

       Before the Court is the status of the above-referenced case, which the District Judge

referred for disposition of certain matters, pursuant to Rules CV-72 and 1 of Appendix C of the

Local Rules of the United States District Court for the Western District of Texas. See Dkt. No.

107. IT IS ORDERED that this case is set for a hearing on February 23, 2022, at 1:30 pm.

The hearing will be held by video conference using the Zoom video platform. As the date for the

hearing approaches, the Court will send, by separate communication, instructions for

participating in the video conference. The parties should be prepared to argue all pending ripe

motions.

       IT IS SO ORDERED.

       SIGNED this 7th day of February, 2022.




                                           RICHARD B. FARRER
                                           UNITED STATES MAGISTRATE JUDGE
